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                                      EXHIBIT J              Alvin Russell 03/18/2019

·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT              ·1· · · · · · · · · · · · · ·INDEX
· · · · · · · FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                                ·2
·2· · · · · · · · · · ·WESTERN DIVISION
·3                                                              ·3· · · · · · · · · Witness:· ALVIN RUSSELL

· · ·ANNIE AGNEW and NAYSHAWN· · · ·)                           ·4
·4· ·EDWARDS, as Independent· · · · )
                                                                ·5· · · ·Examination· · · · · · · · · · · · · · ·Page
· · ·Co-Administrators of the· · · ·)
·5· ·Estate of NATHANIEL (NATE)· · ·)                           ·6· ·Attorney Kujawa . . . . . . . . . . . . . .· ·4
· · ·EDWARDS,· · · · · · · · · · · ·)· NO. 3:18-cv-50035        ·7· ·Attorney Brooks . . . . . . . . . . . . . .· 50
·6· · · · · · · · · · · · · · · · · )
                                                                ·8
· · · · · · · · · · · Plaintiffs,· ·)
·7· · · · · · · · · · · · · · · · · )· DEPOSITION OF            ·9
· · · · · · · ·v.· · · · · · · · · ·)· ALVIN RUSSELL
                                                                10· · · · · · · · · · · EXHIBITS
·8· · · · · · · · · · · · · · · · · )
· · ·SERGEANT JONATHAN CATER,· · · ·)                           11· · · ·Exhibit· · · · · · · · · · · · · · · ·Marked

·9· ·Individually, and THE CITY· · ·)                           12· ·Russell Exhibit Number 1 . . . . . . . . .· ·16
· · ·OF ROCK FALLS,· · · · · · · · ·)
                                                                13· ·Russell Group Exhibit Number 2 . . . . . .· ·18
10· · · · · · · · · · · · · · · · · )
· · · · · · · · · · · Defendants.· ·)                           14
11                                                              15
12
                                                                16
13
14                                                              17
15                                                              18
16· · · · · · ·DEPOSITION OF ALVIN RUSSELL, taken at the
                                                                19
17· ·offices of Ward, Murray, Pace & Johnson, 202 East
18· ·Fifth Street, Sterling, Illinois, on March 18, 2019,       20· ·Certificate of Shorthand Reporter . . . . .· 74
19· ·commencing at 1:58 p.m., before Callie S. Bodmer,
                                                                21
20· ·Certified Shorthand Reporter and Notary Public in
21· ·and for the States of Illinois and Iowa, in                22
22· ·pursuance to agreement of the parties in the               23
23· ·above-entitled action.
                                                                24
24

                                                            1                                                              3

·1· ·APPEARANCES:                                               ·1· · · · · · · · · · · (Alvin Russell was duly sworn.)
·2· · · · ATTORNEY MELVIN L. BROOKS
· · · · · of The Cochran Firm
                                                                ·2· · · · · · ·MR. KUJAWA:· Let the record reflect that
·3· · · · 140 South Dearborn Street, Suite 1020                 ·3· · · · this is the deposition of Mr. Alvin Russell --
· · · · · Chicago, Illinois· 60603
                                                                ·4· · · · · · ·Do I have that right?
·4· · · · 312.262.2880
· · · · · mbrooks@cochranfirm.com                               ·5· · · · · · ·THE WITNESS:· Yes.· Yes.
·5                                                              ·6· · · · · · ·MR. KUJAWA:· Are you referred to as Sonny
· · · · · · · · · · · · ·Counsel for the Plaintiffs.
                                                                ·7· · · · though?
·6
· · · · · ATTORNEY MICHAEL E. KUJAWA                            ·8· · · · · · ·THE WITNESS:· I go by Sonny.· My dad is
·7· · · · of the firm of Schain Banks Kenny & Schwartz,         ·9· · · · Alvin too, so I go by Alvin -- or Sonny.
· · · · · Ltd.
·8· · · · 70 West Madison Street, Suite 5300
                                                                10· · · · · · ·MR. KUJAWA:· Make sure we got the right
· · · · · Chicago, Illinois· 60602                              11· · · · guy.
·9· · · · 312.345.5700
                                                                12· · · · · · ·THE WITNESS:· Yeah.
· · · · · mkujawa@schainbanks.com
10                                                              13· · · · · · ·MR. KUJAWA:· -- taken pursuant to the
· · · · · · · · · · · · ·Counsel for the Defendants.            14· · · · applicable Rules of the Northern District of
11
                                                                15· · · · Illinois and by subpoena and by agreement.
12
13                                                              16· · · · · · · · · · · ALVIN RUSSELL,
14                                                              17· · · · having been duly sworn, was examined and
15
16
                                                                18· · · · testified as follows:
17                                                              19· · · · · · · · · · · · EXAMINATION
18
                                                                20· ·BY MR. KUJAWA:
19
20
                                                                21· ·Q.· ·So, Mr. Russell, you have told us you have not
21                                                              22· · · · given a deposition like this before, correct?
22
                                                                23· ·A.· ·No, not like this.
23
24                                                              24· ·Q.· ·All right.· So our court reporter is going to
                                                            2                                                              4

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·1· · · · take down everything that everyone says in the        ·1· ·Q.· ·Who do you live at 1302 West Franklin with?
·2· · · · room.                                                 ·2· ·A.· ·With my wife, Priscilla Russell.
·3· ·A.· ·Sure.                                                 ·3· ·Q.· ·Anyone else?
·4· ·Q.· ·So when you answer our questions, you need to         ·4· ·A.· ·At the time my brother-in-law, Rick Vasquez,
·5· · · · do so with an out-loud, verbal response, a yes        ·5· · · · was staying with us, living with us, but he's
·6· · · · or a no.· If you shrug your shoulders or nod          ·6· · · · got his own place now.· He's not there no more
·7· · · · your head, we'll know what we're talking about        ·7· · · · with us.
·8· · · · as we sit here right now, but we don't know           ·8· ·Q.· ·But he was around on January 26th of 2018?
·9· · · · later on when we read the transcript.· Okay?          ·9· ·A.· ·Correct, yes.
10· ·A.· ·Yes.                                                  10· ·Q.· ·So it would have been just the three of you in
11· ·Q.· ·If you need a break at any time, let me know.         11· · · · the house that day?
12· · · · I don't think this will take that long, but we        12· ·A.· ·Correct, yes.
13· · · · can accommodate you if we need to.                    13· ·Q.· ·What is your highest level of education?
14· · · · · · ·If I -- anyone asks a question and you           14· ·A.· ·High school.
15· · · · don't understand the question, it's probably          15· ·Q.· ·What high school?
16· · · · because I asked a bad question.· So let me know,      16· ·A.· ·Rock Falls.
17· · · · and I'll rephrase it or repeat it so we can make      17· ·Q.· ·Have you lived in the Rock Falls area your
18· · · · sure that we're understanding each other as           18· · · · whole life?
19· · · · we're talking here.· Okay?                            19· ·A.· ·Yes.
20· ·A.· ·Okay.                                                 20· ·Q.· ·Are you currently employed?
21· ·Q.· ·However, if we ask a question and you answer          21· ·A.· ·Yes, I am.
22· · · · it, it's going to -- we're going to assume you        22· ·Q.· ·By who?
23· · · · understood it as it was asked.· Okay?                 23· ·A.· ·I work at Sterling Steel, millwright there, and
24· ·A.· ·Yes.                                                  24· · · · part-time I work for the Whiteside County
                                                            5                                                               7

·1· ·Q.· ·And then a lot of our questions are                   ·1· · · · Sheriff's Department as a bailiff.
·2· · · · predictable, you'll know exactly where we're          ·2· · · · · · ·MR. BROOKS:· You say Whiteside?
·3· · · · going before we finish, probably want to start        ·3· · · · · · ·THE WITNESS:· Whiteside County.
·4· · · · answering before we even stop talking, but it's       ·4· ·Q.· ·(By Mr. Kujawa:)· So are you still working for
·5· · · · hard for Cassie [sic] to start taking down two        ·5· · · · Sterling Steel?
·6· · · · people talking at the same time.· So if you can       ·6· ·A.· ·Yes, I am.
·7· · · · wait until we finish before you begin your            ·7· ·Q.· ·And are you still working part-time for
·8· · · · answer, and we'll try to do the same for you.         ·8· · · · Whiteside?
·9· · · · Okay?                                                 ·9· ·A.· ·Yes.
10· ·A.· ·Yes.                                                  10· ·Q.· ·How long have you worked for Whiteside County
11· ·Q.· ·So do you -- you live at 1302 West Franklin?          11· · · · Sheriff?
12· ·A.· ·That is correct.                                      12· ·A.· ·Eleven years.
13· ·Q.· ·Okay.· And how long have you lived there?             13· ·Q.· ·Have you ever been a K-9 officer for Whiteside
14· ·A.· ·Since 1988.                                           14· · · · County?
15· ·Q.· ·How old are you?                                      15· ·A.· ·No.
16· ·A.· ·59.                                                   16· ·Q.· ·All right.· Jordan Babbitt was in earlier today
17· ·Q.· ·Date of birth?                                        17· · · · and gave a deposition.· She mentioned that maybe
18· ·A.· ·11/28 of '59.                                         18· · · · you -- the dog was part of the job for your law
19· ·Q.· ·And what's a good phone number for you if we          19· · · · enforcement job?
20· · · · have to reach you for further testimony maybe in      20· ·A.· ·I have a German Shepherd.· He's a search and
21· · · · this case?                                            21· · · · rescue dog that I have trained, and I have
22· ·A.· ·(815) 441-1878.                                       22· · · · gone -- we have gone different places, but we
23· ·Q.· ·Is that a cell phone?                                 23· · · · don't use him for the Sheriff or the County.
24· ·A.· ·Yes, it is.                                           24· ·Q.· ·Understand.
                                                            6                                                               8

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·1· · · · · · ·Have you worked for any other law                ·1· · · · when that incident took place?
·2· · · · enforcement agencies other than Whiteside County      ·2· ·A.· ·Yes, I was.
·3· · · · in your life?                                         ·3· ·Q.· ·Prior to that night, did you know Nathaniel
·4· ·A.· ·No.                                                   ·4· · · · Edwards?
·5· ·Q.· ·How long have you worked for Sterling Steel?          ·5· ·A.· ·No, I never.
·6· ·A.· ·Sterling Steel, since 2004.                           ·6· ·Q.· ·You never heard of him or met him?
·7· ·Q.· ·And what do you do for them?                          ·7· ·A.· ·No.
·8· ·A.· ·Millwright.                                           ·8· ·Q.· ·The house next door to you at 1304 Franklin,
·9· ·Q.· ·So when you are working as a bailiff, are you         ·9· · · · did you know the occupant of that house?
10· · · · at the courthouse in Whiteside County?                10· ·A.· ·Yes.· Carly, yes.
11· ·A.· ·Correct, yes.                                         11· ·Q.· ·Do you know her last name?
12· ·Q.· ·And how many days a week is that?                     12· ·A.· ·Fish, I think is -- at least that's what she
13· ·A.· ·Right now I'm only working probably maybe two         13· · · · goes by, because I know her parents.
14· · · · to three times a month, sometimes in Morrison,        14· ·Q.· ·All right.· How long have the -- did you know
15· · · · sometimes in Sterling.                                15· · · · the parents because they owned the house prior
16· ·Q.· ·In your 11 years with Whiteside County Sheriff,       16· · · · to Carly living there?
17· · · · have you had any other positions for them other       17· ·A.· ·Yes.
18· · · · than working in the courthouse?                       18· ·Q.· ·How long have they owned that house?
19· ·A.· ·I'm on with the Mounted Patrol also, too.             19· ·A.· ·Maybe a year, year and a half.
20· ·Q.· ·How often do you get out to do that?                  20· ·Q.· ·Before the incident or --
21· ·A.· ·We have meetings once a month.· We do search          21· ·A.· ·Yes.· Yes.
22· · · · and rescue stuff, we do -- if there's big events      22· ·Q.· ·All right.· So they bought that house long
23· · · · or if we have to stand by somewhere if there's a      23· · · · after you were living next door?
24· · · · fire or a break-in or -- we usually stand by,         24· ·A.· ·They bought it from the people that lived there
                                                            9                                                              11

·1· · · · they use us to stand by for it.                       ·1· · · · before.· It was Deb Conklin and Randy Conklin,
·2· ·Q.· ·Do they have their own, like, stables and             ·2· · · · is who they bought the house from, and they
·3· · · · horses and all that, or do you guys have to           ·3· · · · bought it for Carly.
·4· · · · bring your own horse?                                 ·4· ·Q.· ·Okay.· So the parents, they never lived in the
·5· ·A.· ·We have our own, but anymore we -- there's not        ·5· · · · house?
·6· · · · too many that have them now.                          ·6· ·A.· ·No, no.
·7· ·Q.· ·Okay.                                                 ·7· ·Q.· ·Do you know if anyone was living with Carly in
·8· ·A.· ·When I first started, it was 80/20, but now           ·8· · · · January of 2018?
·9· · · · it's about the other way around now.· We have         ·9· ·A.· ·No.
10· · · · four-wheelers now, and there is a few guys that       10· ·Q.· ·Did you ever have any problems with Carly as a
11· · · · do still have them.                                   11· · · · neighbor from the time she moved in up until the
12· ·Q.· ·Did you receive any specialized training from         12· · · · time of the incident?
13· · · · Whiteside County when you started?· Like, did         13· ·A.· ·No.
14· · · · they send you to an academy or anything like          14· ·Q.· ·Were you ever aware of any police activity next
15· · · · that?                                                 15· · · · door at Carly's house prior to the incident on
16· ·A.· ·Yes, they did.· They sent us down to a 40-hour        16· · · · January 26th of 2018?
17· · · · training for shooting, to pass firearms.· Search      17· · · · · · ·MR. BROOKS:· Objection.· Form.· Vague.
18· · · · and rescue, we do -- then every month we do some      18· ·A.· ·I have to think.· Yes, they did have some
19· · · · kind of training we do.                               19· · · · problems there before.
20· ·Q.· ·So we're here to talk about the incident,             20· ·Q.· ·(By Mr. Kujawa:)· Okay.· What do you remember
21· · · · shooting incident, next door involving Nathaniel      21· · · · in particular?
22· · · · Edwards and the Rock Falls Police on January          22· ·A.· ·She had a boyfriend there before that had a
23· · · · 26th of 2018.                                         23· · · · warrant, and they had to come and get him out of
24· · · · · · ·First of all, were you home that night           24· · · · the house.
                                                           10                                                              12

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·1· ·Q.· ·Were you home when that incident took place?          ·1· ·A.· ·Yes.
·2· ·A.· ·My wife and I just pulled up to the house.· It        ·2· ·Q.· ·Do you consider any members of the Rock Falls
·3· · · · was around 10 o'clock at night, is when Rock          ·3· · · · Police Department to be your personal friends?
·4· · · · Falls officers were there trying to get the guy       ·4· ·A.· ·No.
·5· · · · out of the house.· Carly -- and he locked             ·5· ·Q.· ·Do you know John Cater?
·6· · · · himself inside the house.· Carly -- he would not      ·6· ·A.· ·No, I never -- I never did ever meet him.
·7· · · · let Carly inside the house, and she wouldn't          ·7· ·Q.· ·All right.· Do you know any of the other
·8· · · · open up the door for them.                            ·8· · · · officers who were on the scene that night, the
·9· · · · · · ·So Officer Hermes from Rock Falls -- Carly       ·9· · · · night of the shooting?
10· · · · said that she wanted to talk to me.· So we sat        10· ·A.· ·Not -- I kind of know him by face, but I really
11· · · · down, my wife and I talked to Carly, told her         11· · · · don't know him by his name.· He's a little bit
12· · · · about the guy that was inside the house, they --      12· · · · smaller guy, had a black mustache.
13· · · · that they wanted to talk to him.· And she             13· ·Q.· ·Okay.· There was someone named Ethan Riley who
14· · · · didn't -- she did not want to open up the door        14· · · · was out there that night.· Do you know Ethan
15· · · · because she didn't want to get in trouble if she      15· · · · Riley?
16· · · · opened up that door.· So she says, If you kick        16· ·A.· ·No.
17· · · · the door in, that's fine.· So I more or less          17· ·Q.· ·All right.· When you were -- that night, the
18· · · · said, Okay.· If we kick the door in, that's okay      18· · · · night of the shooting, were you outside watching
19· · · · for us to go in?· She said, Yes.                      19· · · · what was happening?
20· · · · · · ·And then I called over Officer Hermes and        20· ·A.· ·Yes.
21· · · · I told him, and he asked her the same thing.· So      21· ·Q.· ·Where were you standing?
22· · · · you're giving us permission to kick the door in?      22· ·A.· ·Right behind my truck.· My truck was backed in
23· · · · She said, Yes.· But you won't open up the door?       23· · · · against my garage, and I walked out to grab my
24· · · · She said, No.                                         24· · · · radio out of my truck because I keep my radio --
                                                           13                                                              15

·1· · · · · · ·So we yelled a couple times, told him we         ·1· · · · my hand radio that I use for the sheriff's
·2· · · · were coming in, and Chad Hermes kicked the door       ·2· · · · department, I kept it right on the console
·3· · · · in.                                                   ·3· · · · there.
·4· ·Q.· ·Was the boyfriend inside taken into custody?          ·4· · · · · · ·So I went out to go grab that to see what
·5· ·A.· ·He was downstairs in the basement.· He was            ·5· · · · was going on, and as I was walking out, that's
·6· · · · passed out.                                           ·6· · · · when the cars come pulling up, pulling in the
·7· ·Q.· ·Other than that incident, are you aware of any        ·7· · · · driveway at 1304.· And I was right at the end of
·8· · · · other incidents involving the police at 1304          ·8· · · · my truck, of the bed, and looked -- I could see
·9· · · · West Franklin while Carly lived there prior to        ·9· · · · everything right from there.
10· · · · the night of the shooting?                            10· · · · · · · · · · · (Russell Exhibit Number 1 marked
11· ·A.· ·No.                                                   11· · · · · · · · · · · ·for identification.)
12· ·Q.· ·Did you ever -- had some -- we've done some           12· ·Q.· ·Okay.· Let me hand you what I'll mark as
13· · · · depositions this morning already, and we have         13· · · · Russell Exhibit 1 and ask you, have you seen
14· · · · heard some concerns about rumors about possible       14· · · · this before?
15· · · · illegal activity going on in the house, perhaps       15· ·A.· ·Yes, I have.
16· · · · drug activity going on in the house.· Did you         16· ·Q.· ·Okay.· Did you receive a copy of this document
17· · · · ever have any concerns or hear any such rumors?       17· · · · from my office when we were scheduling your
18· ·A.· ·I have never seen nothing.· Can't really say.         18· · · · deposition?
19· · · · No, I have never seen no drugs or nothing coming      19· ·A.· ·Yes, I did.
20· · · · in and out of there.                                  20· ·Q.· ·Did you read this prior to coming in today?
21· ·Q.· ·I would imagine with the Whiteside County             21· ·A.· ·Yes, I did.
22· · · · Sheriff's Department, you come -- have frequent       22· ·Q.· ·When you read it, did you find that there was
23· · · · interaction with members of the Rock Falls            23· · · · anything contained in here that was inaccurate
24· · · · Police Department?                                    24· · · · or incorrect?
                                                           14                                                              16

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·1· ·A.· ·Yes, I did.                                           ·1· ·A.· ·My truck was right in -- backed right in here.
·2· ·Q.· ·You did?· What did you find that was inaccurate       ·2· ·Q.· ·Okay.· So it would have been sticking out from
·3· · · · or incorrect?                                         ·3· · · · the house towards the street?
·4· ·A.· ·I found out -- when -- on the second paragraph,       ·4· ·A.· ·Yes.· It was facing towards the street.
·5· · · · Alvin observed the white vehicle drive into the       ·5· ·Q.· ·All right.· It would not have --
·6· · · · driveway up to the sidewalk of the residence of       ·6· ·A.· ·And I was at the back of it.
·7· · · · 1302.· That is my address.· The car did not pull      ·7· ·Q.· ·All right.· So would you have been --
·8· · · · into my address.                                      ·8· ·A.· ·Actually, this picture here, right now I have
·9· ·Q.· ·I see.· Okay.· So what you were saying there          ·9· · · · a -- I have like a lean-to, a little garage,
10· · · · is --                                                 10· · · · right here.
11· ·A.· ·1304.                                                 11· ·Q.· ·Okay.
12· ·Q.· ·-- you observed the white vehicle drive into          12· ·A.· ·And I was backed up to it.
13· · · · the driveway up to the sidewalk of the residence      13· ·Q.· ·So the --
14· · · · of 1304 Franklin?                                     14· ·A.· ·My truck wasn't -- my truck wasn't in it, but
15· ·A.· ·Correct.                                              15· · · · it was backed up to the garage door of the --
16· ·Q.· ·All right.· Any other -- anything else in here        16· ·Q.· ·All right.· Yeah, looks like -- yeah, these
17· · · · that you found was inaccurate or incorrect?           17· · · · images were captured in October of 2013?
18· ·A.· ·Nope.· Everything was correct.                        18· ·A.· ·Correct, yes.
19· ·Q.· ·Was there anything that you remembered -- any         19· ·Q.· ·So you're saying that extending out from the
20· · · · details that you remember providing to the            20· · · · roof of the house -- or from the side of the
21· · · · investigators who interviewed you that were not       21· · · · house, in between 1302 and 1304 Franklin,
22· · · · included in here?                                     22· · · · there's, like, a carport sort of thing?
23· ·A.· ·No, I don't think so.· Everything is pretty           23· ·A.· ·Correct, yes.
24· · · · much what the officer that night -- the State         24· ·Q.· ·And you -- if you wanted to, you could pull all
                                                           17                                                              19

·1· · · · trooper asked.                                        ·1· · · · the way underneath it?
·2· · · · · · · · · · · (Russell Exhibit Number 2 marked        ·2· ·A.· ·Yes.
·3· · · · · · · · · · · ·for identification.)                   ·3· ·Q.· ·But you weren't pulled all the way underneath
·4· ·Q.· ·Okay.· I'm going to hand you what we have             ·4· · · · it?
·5· · · · marked as Russell Exhibit Number 2, which is a        ·5· ·A.· ·I was not.
·6· · · · packet of photographs from the area, and let          ·6· ·Q.· ·But you were backed up to the edge of it?
·7· · · · me -- we'll start with Page 1 of Exhibit 2.           ·7· ·A.· ·Yes.
·8· · · · That's your house on the right-hand side of the       ·8· ·Q.· ·Where on your house would the edge of that
·9· · · · photograph?                                           ·9· · · · thing have been?· Would it have been right up at
10· ·A.· ·Correct, yes.                                         10· · · · the corner of the house or would it have been a
11· ·Q.· ·And when you say you had your pickup truck            11· · · · little further back?
12· · · · backed up to the garage door, is that the garage      12· ·A.· ·It's right at the edge of the house.
13· · · · door on the front of the house?                       13· ·Q.· ·All right.· And so then your truck, if the back
14· ·A.· ·It was to the side of the house.                      14· · · · of your pickup truck would have been at the
15· ·Q.· ·Okay.· So --                                          15· · · · corner of the house, the front of it would have
16· ·A.· ·There's, like, a little driveway there.               16· · · · extended forward towards the street as long as
17· ·Q.· ·Yeah, I see the driveway.· That runs back to          17· · · · the truck is?
18· · · · that fence back there, right?                         18· ·A.· ·Yes.
19· ·A.· ·Yes.                                                  19· ·Q.· ·Do you know how long that truck is, roughly?
20· ·Q.· ·Would you typically park -- well, if you could,       20· ·A.· ·Ten feet.
21· · · · could you mark on that photograph where your          21· ·Q.· ·Any idea how tall it is?
22· · · · truck was parked that night?· Like, if you make       22· ·A.· ·6 -- 6'5".
23· · · · a rectangle where it was -- where you had it          23· ·Q.· ·We have been told it's a Ford F-150, black in
24· · · · parked and where you were standing by it?             24· · · · color?
                                                           18                                                              20

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·1· ·A.· ·Correct.                                              ·1· · · · you realized something was happening in the
·2· ·Q.· ·Extended cab?                                         ·2· · · · neighborhood that night?
·3· ·A.· ·Correct, yes.                                         ·3· ·A.· ·We were home all afternoon.· We watched a
·4· ·Q.· ·Is it, like, the normal height that you would         ·4· · · · movie, and then that's when we heard the siren.
·5· · · · get from when you get it at the dealer or is it       ·5· ·Q.· ·Okay.· So is that the first thing that alerted
·6· · · · higher, with bigger tires?                            ·6· · · · you that something was going on in the
·7· ·A.· ·No, just what you buy, regular size.                  ·7· · · · neighborhood?
·8· ·Q.· ·When you were out there that night standing at        ·8· ·A.· ·Correct, yes.
·9· · · · the back of your pickup, were you ever standing       ·9· ·Q.· ·This neighborhood, is it one where you see a
10· · · · anywhere else while you were watching what was        10· · · · lot of police activity regularly?
11· · · · going on?                                             11· ·A.· ·No.
12· ·A.· ·No.                                                   12· ·Q.· ·So this was something unusual?
13· ·Q.· ·Were you able to see from your position there         13· ·A.· ·Yes.
14· · · · whether or not anybody was out in front of the        14· ·Q.· ·What's the first thing you remember?· After you
15· · · · house where Jordan Babbitt and Jacob Anderson         15· · · · heard the sirens, what's the first thing you
16· · · · live?                                                 16· · · · saw?
17· ·A.· ·Was anyone outside of their house?                    17· ·A.· ·Got up, I looked out the picture window.· We
18· ·Q.· ·Yes.                                                  18· · · · heard the sirens, and they were taking forever
19· ·A.· ·I don't remember -- at the time when that             19· · · · to come down the road.· It seemed like maybe
20· · · · happened, I don't remember if they were outside.      20· · · · they were going down Martin Road.· So I kind of
21· · · · I know that they were out -- afterwards they          21· · · · looked down and seen the car coming down the
22· · · · were outside, after the shots were fired.             22· · · · road, the white car, and it was moving real
23· ·Q.· ·Okay.                                                 23· · · · slowly, and there was two Rock Falls cars,
24· ·A.· ·And then they came out.                               24· · · · police cars, right behind it.
                                                           21                                                              23

·1· ·Q.· ·I'm wondering, so if you look at Page 3 of            ·1· ·Q.· ·When you say real slowly, how slowly do you
·2· · · · Exhibit 2, if they were standing on their             ·2· · · · estimate they were going?
·3· · · · driveway between the basketball pole and the          ·3· ·A.· ·They were going probably anywhere 5 to 7 miles
·4· · · · house, if you would even have a sight line of         ·4· · · · per hour.
·5· · · · them from where you were standing at the end of       ·5· ·Q.· ·All right.· So it was not exactly a high-speed
·6· · · · your pickup truck?                                    ·6· · · · pursuit going on here?
·7· ·A.· ·Yes.                                                  ·7· ·A.· ·No.
·8· ·Q.· ·Okay.· At least to the best of your                   ·8· ·Q.· ·And so they -- did they sort of just roll by?
·9· · · · recollection as you sit here now, you don't           ·9· ·A.· ·Went by real slow.· When I looked out, I
10· · · · recall looking over and seeing them standing          10· · · · thought it was Carly's car, because she has a
11· · · · there while the incident was actually taking          11· · · · car like that, and I thought it was hers.· But
12· · · · place?                                                12· · · · then when I seen them go by, well, they went by,
13· ·A.· ·No, I did not see them.                               13· · · · it wasn't her.· Then they went all the way
14· ·Q.· ·Okay.· I would imagine your attention was             14· · · · around the block, and as they were -- turned the
15· · · · focused on what was going on at the other side        15· · · · corner at Martin and Franklin again to head back
16· · · · at 1304 Franklin?                                     16· · · · down again, my wife says, They're coming back
17· ·A.· ·Correct.                                              17· · · · down, around again.
18· ·Q.· ·All right.· So during this incident, up until         18· · · · · · ·That's when I walked outside, opened up
19· · · · the time, say, the paramedics arrived after the       19· · · · the garage door, and I went out to go grab my
20· · · · shooting, do you know if your wife, Priscilla,        20· · · · radio out of my truck.
21· · · · or your brother-in-law, Rick Vasquez, ever came       21· ·Q.· ·When you got the radio out, were you able to
22· · · · out to see what was going on with you?                22· · · · pick up on any traffic to figure out what was
23· ·A.· ·No, they never did.                                   23· · · · going on; radio traffic?
24· ·Q.· ·So what -- how long had you been home before          24· ·A.· ·I did -- it was quiet at first.· The only thing
                                                           22                                                              24

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·1· · · · that was -- I was actually paying attention what      ·1· · · · trace -- it was on that one there, the one in
·2· · · · was being yelled and said.                            ·2· · · · your hand, but didn't really come through on the
·3· ·Q.· ·But nothing over the radio?                           ·3· · · · pen.
·4· ·A.· ·Over the radio, afterwards, yes.                      ·4· ·A.· ·Okay.
·5· ·Q.· ·All right.· But in the time between when you          ·5· ·Q.· ·Thank you.
·6· · · · first turned the radio on and them pulling into       ·6· · · · · · ·So that's -- you have indicated on the
·7· · · · the driveway next door, you didn't necessarily        ·7· · · · driveway at 1304 Franklin where you saw the
·8· · · · pick up on any radio traffic which would alert        ·8· · · · Cadillac come to a stop, correct?
·9· · · · you to what was happening?                            ·9· ·A.· ·Correct, yes.
10· ·A.· ·No.                                                   10· ·Q.· ·Using that first -- that picture there that you
11· ·Q.· ·All right.· As they came up the block -- let me       11· · · · just marked, would you be able to identify on
12· · · · ask, before they got to the driveway here and         12· · · · that picture where the police cars stopped when
13· · · · pulled in, did you see anything happen at the         13· · · · the Cadillac pulled in?
14· · · · end of the block where they -- any of the squad       14· ·A.· ·Yes.
15· · · · cars tried to block the roadway or anything like      15· ·Q.· ·Could you -- so how many police cars did you
16· · · · that?                                                 16· · · · see stopped out there?
17· ·A.· ·My wife seen it.· She told me.· I did not see         17· ·A.· ·Two.
18· · · · it.                                                   18· ·Q.· ·And where would they have been?
19· ·Q.· ·All right.· What did she tell you?                    19· ·A.· ·They were parked out here, facing -- facing
20· ·A.· ·She told me she seen it go down the -- down the       20· · · · this way.
21· · · · ditch towards the end of the road on -- Moores,       21· ·Q.· ·Okay.
22· · · · Moores live on the end of -- the corner there.        22· ·A.· ·Facing towards -- facing towards the house.
23· · · · The white car went down into the ditch and then       23· ·Q.· ·Towards the house?
24· · · · back up on Franklin Street.                           24· ·A.· ·Yeah.
                                                           25                                                              27

·1· ·Q.· ·Were you outside when the Cadillac -- white           ·1· ·Q.· ·Were they pulled up directly behind the
·2· · · · Cadillac and the police cars came up Franklin         ·2· · · · Cadillac or were they on an angle?
·3· · · · the second time and then the Cadillac pulled          ·3· ·A.· ·No, they were out in the road on the ditch more
·4· · · · into the driveway next door?                          ·4· · · · or less -- not in the ditch, but out on the road
·5· ·A.· ·I was just walking out to my truck as they --         ·5· · · · facing this way.
·6· · · · the white Cadillac pulled into the driveway,          ·6· ·Q.· ·Okay.· So two -- there were two squad cars?
·7· · · · Carly's driveway.                                     ·7· ·A.· ·Yes.
·8· ·Q.· ·Okay.· And did you see the white Cadillac pull        ·8· ·Q.· ·Were they Rock Falls squad cars?
·9· · · · up and stop somewhere?                                ·9· ·A.· ·Yes.
10· ·A.· ·Yes, it pulled up into the -- pulled right up         10· ·Q.· ·Were there any other departments' squad cars,
11· · · · into the driveway and it stopped right before         11· · · · either the sheriff's or State or some adjoining
12· · · · the sidewalk.                                         12· · · · town's squad cars out there, that you were aware
13· ·Q.· ·Do you think you could draw another rectangle         13· · · · of?
14· · · · on there where you saw the white Cadillac stop?       14· ·A.· ·At what time?
15· · · · · · · · · · · (Witness complies.)                     15· ·Q.· ·During the time -- before the shooting.
16· ·Q.· ·You know what, my pen may be dying here.              16· ·A.· ·No.
17· ·A.· ·It was right in this area here, yeah.                 17· ·Q.· ·All right.· I'm sure afterwards everybody was
18· ·Q.· ·Here, try that one.                                   18· · · · there?
19· · · · · · ·MR. KUJAWA:· You got one?                        19· ·A.· ·Yes.
20· · · · · · ·MR. BROOKS:· Yeah.                               20· ·Q.· ·So when the Cadillac comes to a stop there and
21· ·A.· ·It was right in this area here.                       21· · · · the police cars come to a stop, what did you see
22· ·Q.· ·(By Mr. Kujawa:)· Could you fill in the -- the        22· · · · happen next?
23· · · · one you already put where your car was?· Because      23· ·A.· ·Officers ran out of the car -- there's --
24· · · · I think my pen was dying there.· If you can just      24· · · · there's -- two officers were on the back side of
                                                           26                                                              28

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·1· · · · the driver's side and one officer was right           ·1· ·Q.· ·Only one time.· When he said that, was it
·2· · · · behind the car.· The officer behind the car was       ·2· · · · always, You need to do this or you will be shot?
·3· · · · yelling, Get out of the car.· Show your hands.        ·3· · · · I mean, did he say it at end of the sentence,
·4· · · · Step out of the car now.· Show your hands.· Get       ·4· · · · such as, Get out of the car or you will be shot?
·5· · · · out of the car.· And he yelled it a lot -- a few      ·5· · · · Or, Show your hands or you will be shot?
·6· · · · times.                                                ·6· · · · · · ·MR. BROOKS:· Objection, form.
·7· ·Q.· ·Could you, from your -- where you were standing       ·7· · · · · · ·You can answer.
·8· · · · at the back of your pickup truck -- first of          ·8· ·Q.· ·(By Mr. Kujawa:)· Go ahead.
·9· · · · all, from your position was there anything in         ·9· ·A.· ·It was at the end of the sentence, after he
10· · · · between you and the Cadillac and the officers         10· · · · said --
11· · · · that blocked your view?                               11· ·Q.· ·Did you ever hear any officer out there just
12· ·A.· ·No.                                                   12· · · · say, We're going to shoot you?
13· ·Q.· ·Are you able to put a mark on the photograph          13· ·A.· ·No.
14· · · · there where the officers were at as you watched       14· ·Q.· ·Did you ever perceive that the officers were
15· · · · this incident take place?                             15· · · · just simply threatening to shoot the driver of
16· · · · · · · · · · · (Witness complies.)                     16· · · · the car?
17· ·Q.· ·So -- okay.· So you have got two officers --          17· · · · · · ·MR. BROOKS:· Objection.· Form.
18· ·A.· ·Two of them were back, on the back side panel.        18· · · · Foundation.
19· · · · They were kind of back.                               19· ·A.· ·No.
20· ·Q.· ·And one directly behind the car?                      20· ·Q.· ·(By Mr. Kujawa:)· How long before the shooting
21· ·A.· ·Correct.                                              21· · · · took place were you able to see the officers
22· ·Q.· ·Did all three officers have their weapons out?        22· · · · there giving commands to the driver?
23· ·A.· ·I don't remember the other two, if they did or        23· ·A.· ·It was at least five minutes.
24· · · · not.                                                  24· ·Q.· ·Okay.
                                                           29                                                              31

·1· ·Q.· ·All right.· But you specifically remember the         ·1· ·A.· ·It went on.
·2· · · · one behind the car had his weapon out?                ·2· ·Q.· ·The -- did you ever hear the driver of the car
·3· ·A.· ·Yes.                                                  ·3· · · · say anything in response to the officers who
·4· ·Q.· ·And is it -- was he the one who was giving the        ·4· · · · were giving him the commands?
·5· · · · verbal commands?                                      ·5· ·A.· ·No.
·6· ·A.· ·Yes.                                                  ·6· ·Q.· ·Did you ever hear anybody from inside the house
·7· ·Q.· ·From where you were at behind your truck, did         ·7· · · · at 1304 Franklin say anything to anybody
·8· · · · you have any problem hearing him?                     ·8· · · · outside?
·9· ·A.· ·No.                                                   ·9· ·A.· ·No.
10· ·Q.· ·Did you have any problem understanding what he        10· ·Q.· ·Did you ever see anybody from inside of 1304
11· · · · was saying?                                           11· · · · Franklin come outside while after that car got
12· ·A.· ·No.                                                   12· · · · into the driveway?
13· ·Q.· ·Specifically you said, you know, Put your hands       13· ·A.· ·I can't remember if Carly started down the
14· · · · up.· Get out of the car.· Or, Show me your            14· · · · steps and they told her to get inside the house.
15· · · · hands, I think you said.· Show me your hands.         15· · · · Get in the house now.
16· · · · Get out of the car.                                   16· ·Q.· ·Okay.
17· · · · · · ·Did you hear him say anything else before        17· ·A.· ·I do remember -- I think she did try to come
18· · · · the shooting?                                         18· · · · down the steps, and they told her to, Get in the
19· ·A.· ·He did say, Get out of the car.· Step out of          19· · · · house now, and she went right back in the house.
20· · · · the car.· Show your hands or you will be shot.        20· ·Q.· ·Did you ever see any of the officers do
21· ·Q.· ·Okay.· Whenever -- how many times did you hear        21· · · · anything to try to get Mr. Edwards out of the
22· · · · the officer use the word "shot" during these          22· · · · car, whether -- I mean, break the window, open
23· · · · commands?                                             23· · · · the doors, anything like that?
24· ·A.· ·Only one time he said it.                             24· ·A.· ·No.
                                                           30                                                              32

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·1· ·Q.· ·At this point, when they have got the car --          ·1· · · · officer who fired his gun?
·2· · · · when they're standing around the car and they're      ·2· ·A.· ·No, I can't say that.
·3· · · · giving him the verbal commands, could you tell        ·3· ·Q.· ·Do you know how many times a gun was fired out
·4· · · · what gear the car was in?                             ·4· · · · there that night?
·5· ·A.· ·No.                                                   ·5· ·A.· ·I counted, it was either four or five, it
·6· ·Q.· ·So you didn't know whether it was in park,            ·6· · · · sounded like, shots.
·7· · · · neutral, reverse, or drive?                           ·7· ·Q.· ·And so you don't know whether those came all
·8· ·A.· ·No.                                                   ·8· · · · from one officer or from multiple officers?
·9· ·Q.· ·Prior to the shooting, what did you see the car       ·9· ·A.· ·No, I don't know for sure.
10· · · · do?                                                   10· ·Q.· ·Could you actually see Officer Cater -- like,
11· ·A.· ·Before he put it in reverse?                          11· · · · the muzzle flash from Officer Cater's gun when
12· ·Q.· ·Well, tell me what you saw.· Did -- how did the       12· · · · he fired?
13· · · · driver respond to the verbal commands?                13· ·A.· ·Yes.
14· ·A.· ·He was sitting in the car and his hands were --       14· ·Q.· ·Do you know how many times you saw the muzzle
15· · · · I don't know if he was talking, but his hands         15· · · · flash?
16· · · · were going -- going up and down a little bit,         16· ·A.· ·At least four times.
17· · · · like he was talking, but he wasn't paying             17· ·Q.· ·All right.· Was there any sort of a delay in
18· · · · attention to what they were saying, I don't           18· · · · the rounds being fired, like he stopped and then
19· · · · think, at all.                                        19· · · · started shooting again?
20· ·Q.· ·All right.· Did you observe the car go into           20· ·A.· ·No.· It was -- it was a quick -- it was a pop,
21· · · · reverse?                                              21· · · · then pop, pop, pop.· It was like that.
22· ·A.· ·Yes.                                                  22· ·Q.· ·So a quick burst of gunfire?
23· ·Q.· ·How did you see that?                                 23· ·A.· ·Right.
24· ·A.· ·He put it in reverse and he started going back        24· ·Q.· ·And then no more gunfire?
                                                           33                                                              35

·1· · · · slowly.· He didn't gas it or he didn't rev it         ·1· ·A.· ·No more, no.
·2· · · · up.· He just put it in reverse real slow and he       ·2· ·Q.· ·At some point did the car stop moving
·3· · · · just started going back, and Officer Cagger --        ·3· · · · backwards?
·4· ·Q.· ·Cater.                                                ·4· ·A.· ·Yes.
·5· ·A.· ·-- Cater, he was right at the back, and it            ·5· ·Q.· ·Do you know how?
·6· · · · was -- hit his knees, and as it was running into      ·6· ·A.· ·I don't know if it just kind of slowly creeped
·7· · · · his knees, he was backing up, and that's when he      ·7· · · · back and it just stopped by itself, or if he put
·8· · · · started shooting.                                     ·8· · · · it in park or -- I'm not really for sure, but
·9· ·Q.· ·So did you see the reverse lights or backup           ·9· · · · the car didn't just -- it come to a real slow
10· · · · lights on the Cadillac light up --                    10· · · · stop and it stopped.
11· ·A.· ·No.                                                   11· ·Q.· ·From your position there behind the truck, do
12· ·Q.· ·-- before it started moving back?                     12· · · · you have any way of -- you have lived there a
13· ·A.· ·No, I did not see that.                               13· · · · long time.· Any idea what the distance was
14· ·Q.· ·Did you hear the driver rev the engine at all         14· · · · between where you were standing behind your
15· · · · before it started moving backwards?                   15· · · · truck to where this driveway starts over here at
16· ·A.· ·No.                                                   16· · · · 1304 Franklin?
17· ·Q.· ·But you saw the car that had been stationary          17· ·A.· ·About 40 -- 40 feet.
18· · · · start to move backwards and actually touch            18· ·Q.· ·All right.· What was the lighting like that
19· · · · Officer Cater?                                        19· · · · night?
20· ·A.· ·Correct, yes.                                         20· ·A.· ·It was just starting to get -- it was dusk.
21· ·Q.· ·And it wasn't until that point in time that           21· · · · Just starting to -- it was still light out, but
22· · · · Officer Cater shot him?                               22· · · · it wasn't dark.· It was just starting to get a
23· ·A.· ·Yes.                                                  23· · · · little dark out.
24· ·Q.· ·Do you know if Officer Cater was the only             24· ·Q.· ·What's the lighting in the area like?· My
                                                           34                                                              36

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·1· · · · recollection is, there's not much in the way of       ·1· · · · shots were fired?
·2· · · · street lights on this road?                           ·2· ·A.· ·He was still sitting up.· He was sitting up for
·3· ·A.· ·No.                                                   ·3· · · · a while.
·4· ·Q.· ·How about lights on the houses themselves, was        ·4· ·Q.· ·After the car stopped, after the shooting, what
·5· · · · there any lights on that would help for               ·5· · · · did you observe next?
·6· · · · illumination?                                         ·6· ·A.· ·One of the officers ran around to the
·7· ·A.· ·No, not at the time.                                  ·7· · · · passenger's side.· They tried to break the
·8· ·Q.· ·Did all the police cars that were out there           ·8· · · · window there.· They couldn't get that one.· They
·9· · · · have their lights on?                                 ·9· · · · ended up breaking the window over on the
10· ·A.· ·Yes.                                                  10· · · · driver's side, and they opened up the door and
11· ·Q.· ·Did you have any trouble seeing, from where you       11· · · · they pulled him out.· They started doing CPR.
12· · · · were, what was happening on the opposite              12· · · · By that time, then the deputy sheriff pulled up,
13· · · · driveway?                                             13· · · · Rowdy pulled up, and he ran up and he started
14· ·A.· ·No.                                                   14· · · · doing CPR.
15· ·Q.· ·You have glasses.· Do you wear those for              15· ·Q.· ·What was that name, the last name you
16· · · · distance or reading?                                  16· · · · mentioned?
17· ·A.· ·For reading.                                          17· ·A.· ·Rowdy Elder.· Rowdy -- Rollie, actually.
18· ·Q.· ·All right.· Is your distance --                       18· ·Q.· ·R-O-L-L-I-E, Elder?
19· ·A.· ·Yeah, I can read all the way across the road if       19· ·A.· ·Yes.
20· · · · I had to.                                             20· ·Q.· ·And he's with, what, Whiteside County?
21· ·Q.· ·Were you -- when you looked over and saw that         21· ·A.· ·Whiteside County.· He's a K-9 officer.
22· · · · Cadillac stopped on the driveway, were you able       22· ·Q.· ·Did you see any delay in -- once the vehicle
23· · · · to see the driver?                                    23· · · · stopped, any delay by the officers in getting
24· ·A.· ·Yes.                                                  24· · · · Mr. Edwards out of the car?
                                                           37                                                              39

·1· ·Q.· ·Okay.· You said you saw him moving his hands?         ·1· ·A.· ·No.· No, they were cautious at first.· They
·2· ·A.· ·Yes.                                                  ·2· · · · were trying to break the windows, and the doors
·3· ·Q.· ·Could you see anything, like, you know, height,       ·3· · · · were locked; they couldn't get in.· And they
·4· · · · weight, age, race, could you make out any of          ·4· · · · broke the windows, they reached in and they
·5· · · · those details if you had to give a description        ·5· · · · pulled the door open.
·6· · · · of him?                                               ·6· ·Q.· ·All right.· How about after they got him out of
·7· ·A.· ·No.· I couldn't tell if -- I know Carly was           ·7· · · · the car, did you see any delay in them starting
·8· · · · seeing this guy, and that's who I thought it          ·8· · · · CPR on Mr. Edwards?
·9· · · · was.· I didn't know for sure until afterwards         ·9· ·A.· ·No.· No.
10· · · · who it actually was.                                  10· ·Q.· ·Then did they continue CPR up until the arrival
11· ·Q.· ·So when you say you knew she had been seeing          11· · · · of Deputy Elder and the paramedics?
12· · · · Edwards, is that because you had seen him             12· ·A.· ·No.· They started.
13· · · · around?                                               13· ·Q.· ·But, I mean, once they started, did they keep
14· ·A.· ·Seen him walk up to the house once in a while.        14· · · · doing it up until the paramedics got there?
15· ·Q.· ·All right.                                            15· ·A.· ·Correct, yes.· Yes, they did.
16· ·A.· ·I mean, I don't know him, wouldn't know him.          16· ·Q.· ·When they were giving those commands to the
17· ·Q.· ·But when you had seen him, at least enough to         17· · · · driver while he was in the car before the
18· · · · where when you saw the guy sitting in the car         18· · · · shooting, did you ever hear them using any
19· · · · with the police around the car, you thought, Oh,      19· · · · profanity?
20· · · · that's the guy I have seen here to see Carly?         20· ·A.· ·No.
21· ·A.· ·Yes.· Yes.                                            21· ·Q.· ·So in the last paragraph of your statement, you
22· ·Q.· ·After the shots were fired, could you still see       22· · · · state -- they have written that, Alvin thought
23· · · · him sitting up in the car or was he slumped           23· · · · the driver put the vehicle in park himself, as
24· · · · over?· What did you notice about him after the        24· · · · the driver was still moving inside the vehicle
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·1· · · · following the shots.                                  ·1· ·A.· ·Yes.
·2· · · · · · ·Is that something you observed that night?       ·2· ·Q.· ·(By Mr. Kujawa:)· And so clearly that officer
·3· ·A.· ·The car -- it come to a stop.· I figured either       ·3· · · · who's behind the car, with that car backing up
·4· · · · he did it or it just coasted to a stop.               ·4· · · · at him, is in harm's way, correct?
·5· ·Q.· ·What's the -- is your -- do you know, is there        ·5· · · · · · ·MR. BROOKS:· Objection.· Form.
·6· · · · any incline to that driveway at all at 1304           ·6· · · · Foundation.
·7· · · · Franklin where, you know, if a car started            ·7· ·A.· ·Yes.
·8· · · · rolling backwards it's just going to keep             ·8· ·Q.· ·(By Mr. Kujawa:)· I mean, from your
·9· · · · rolling all the way to the street, or is it flat      ·9· · · · perspective, are you critical of Officer Cater
10· · · · enough where you think it might stop?                 10· · · · for firing his weapon under those circumstances?
11· ·A.· ·It's flat there.                                      11· · · · · · ·MR. BROOKS:· Objection.· Form.
12· ·Q.· ·So when you saw the vehicle move back, and            12· · · · Foundation.
13· · · · Officer Cater was trying to get out of the way?       13· · · · · · ·But you can answer.
14· ·A.· ·He was stepping backwards.                            14· ·A.· ·At the time I was just thinking to myself,
15· ·Q.· ·All right.· When you watched that happening,          15· · · · Just -- just get out of the car.· Just -- that's
16· · · · were you in fear for Officer Cater's safety?          16· · · · all he had to do, just get out of the car.· Get
17· · · · · · ·MR. BROOKS:· Objection.· Form.                   17· · · · out of the car.· And I kind of more or less
18· · · · Foundation.                                           18· · · · said, Don't back up.· I hope you don't try to
19· · · · · · ·THE WITNESS:· Answer still.                      19· · · · leave or try to back up.
20· · · · · · ·MR. KUJAWA:· Yes, you can.                       20· ·Q.· ·(By Mr. Kujawa:)· So it sounds to me like, with
21· ·A.· ·No, not at the time, because -- because he            21· · · · your answer, that you feel like -- you're not
22· · · · wasn't really -- the car was moving slowly.· It       22· · · · critical of Officer Cater for firing his weapon,
23· · · · was just creeping back, but it did touch him.         23· · · · you're more critical of the driver for not
24· · · · It was -- he was walking back.· It was touching       24· · · · following instructions?
                                                           41                                                              43

·1· · · · his legs as he was going back.                        ·1· · · · · · ·MR. BROOKS:· Objection.· Form.
·2· ·Q.· ·(By Mr. Kujawa:)· Okay.· And at that point in         ·2· · · · Foundation.
·3· · · · time, with the car in reverse and coming              ·3· ·A.· ·Correct, yes.· If he would have just got out of
·4· · · · backwards, all the driver would have to do would      ·4· · · · the car.
·5· · · · be to put his foot on the gas pedal and that's        ·5· ·Q.· ·(By Mr. Kujawa:)· Right.· Right.
·6· · · · probably it for Officer Cater, right?                 ·6· · · · · · ·So you were interviewed by some
·7· · · · · · ·MR. BROOKS:· Objection.· Form.                   ·7· · · · investigators from the State Police later that
·8· · · · Foundation.                                           ·8· · · · evening on January 26th of 2018, correct?
·9· · · · · · ·You can still answer.                            ·9· ·A.· ·Correct, yes.
10· ·A.· ·Yeah.· Yeah, it could.· Yeah, he was right            10· ·Q.· ·Were you ever interviewed again by any law
11· · · · there, right, yeah.                                   11· · · · enforcement people for -- as it relates to this?
12· ·Q.· ·(By Mr. Kujawa:)· You would agree Officer             12· ·A.· ·No.
13· · · · Cater --                                              13· ·Q.· ·How about anybody with the State's Attorney's
14· ·A.· ·He would never know, I mean, what he was going        14· · · · Office?
15· · · · to do.                                                15· ·A.· ·No.
16· ·Q.· ·Right.· I mean, the driver of the vehicle had         16· ·Q.· ·How about any investigators from either --
17· · · · obviously ignored multiple commands to get out        17· · · · somebody related to Rock Falls or somebody
18· · · · of the car, correct?                                  18· · · · related to the Plaintiffs' attorneys in this
19· ·A.· ·Correct, yes.                                         19· · · · case?
20· ·Q.· ·And he put the car in reverse and backed up           20· ·A.· ·No.
21· · · · towards the officer who was giving him those          21· ·Q.· ·Did you ever discuss what you saw that night
22· · · · commands, correct?                                    22· · · · with anyone from the Rock Falls Police
23· · · · · · ·MR. BROOKS:· Objection.· Form.                   23· · · · Department?
24· · · · Foundation.· Misstates the testimony.                 24· ·A.· ·No.
                                                           42                                                              44

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·1· ·Q.· ·How about with any of your neighbors?                 ·1· ·A.· ·No, I don't.
·2· ·A.· ·Trying to think.· The neighbors right next to         ·2· ·Q.· ·If you look at Page 4 of the packet of pictures
·3· · · · me.                                                   ·3· · · · there, there's a -- one with this white house
·4· ·Q.· ·Okay.· In between you and Jordan Babbitt and          ·4· · · · here.
·5· · · · Jacob Anderson?                                       ·5· ·A.· ·Yes.
·6· ·A.· ·Andersons, yeah.                                      ·6· ·Q.· ·Do you know who lives in that house?
·7· ·Q.· ·Oh, they are right next door?                         ·7· ·A.· ·These pictures look so far away.· Yeah,
·8· ·A.· ·Andersons, yes.                                       ·8· · · · that's -- if that's -- Gene.· Gene does.
·9· ·Q.· ·So you have talked --                                 ·9· · · · Gene -- I can't think of his last name.· Brogan,
10· ·A.· ·They were outside afterwards.· They were              10· · · · Berogan.· He's 94 years old, 93, 94 years old.
11· · · · standing out in the driveway right afterwards.        11· ·Q.· ·I think Jordan Babbitt mentioned that she saw a
12· · · · They were out there then the whole time.              12· · · · woman who lives in that house out on that front
13· ·Q.· ·And what do you remember about those                  13· · · · porch that night who may have been watching what
14· · · · conversations?                                        14· · · · was going on.· Do you know who that might be?
15· ·A.· ·Nothing.· They were -- they couldn't believe          15· ·A.· ·I don't know her by name.· I don't -- I just
16· · · · that he got shot.· That was the only thing that       16· · · · know because I know -- I mow across the street,
17· · · · they were saying.                                     17· · · · I mow Gene's house, and I know she watches kids
18· ·Q.· ·Have you ever talked about it with Carly?             18· · · · there.· She has a daycare.· But I just wave at
19· ·A.· ·She asked me -- she asked me if I -- if I did         19· · · · her, talk to her.· I mean, I really don't know
20· · · · see it.· I said, Yes, I did.· And that was --         20· · · · her.
21· · · · that was about it.· And she told me -- well, she      21· ·Q.· ·When you were out there that night watching
22· · · · told me she was going to get ahold of her lawyer      22· · · · everything going on, did you see any other
23· · · · and they might want to talk to you.· I said,          23· · · · neighbors who were out other than Jordan and
24· · · · That's fine.· That's fine.· I'll talk to              24· · · · Jacob who might have witnessed anything?
                                                           45                                                              47

·1· · · · anybody.· I'm going to let them know what I           ·1· ·A.· ·Maybe Doug Eller, across the street.· He never
·2· · · · seen, and that's what I told her.                     ·2· · · · come outside, but he probably -- I know he had
·3· ·Q.· ·And did she ever have a lawyer get ahold of           ·3· · · · to see something from his picture window.
·4· · · · you?                                                  ·4· ·Q.· ·What's the last name?
·5· ·A.· ·No.                                                   ·5· ·A.· ·Eller.
·6· ·Q.· ·Have you had any issues with Carly since the          ·6· ·Q.· ·E-L-L-E-R, maybe?
·7· · · · incident?                                             ·7· ·A.· ·Yes.
·8· ·A.· ·No, huh-uh.                                           ·8· ·Q.· ·Doug Eller.· Okay.· So would he be right across
·9· ·Q.· ·We were told earlier that there was some              ·9· · · · the street from you --
10· · · · planned event or something that was going to          10· ·A.· ·Yes.
11· · · · take place, either a protest or a memorial or         11· ·Q.· ·-- or across the street --
12· · · · some sort of a March in the neighborhood              12· ·A.· ·Right across the street from me.· That's his
13· · · · afterwards.· Did you ever hear anything about         13· · · · house right -- his house right here.· This is my
14· · · · that?                                                 14· · · · truck driveway, that's his truck driveway.
15· ·A.· ·I heard about it, but I never did -- I never          15· ·Q.· ·Okay.
16· · · · did see nothing.                                      16· ·A.· ·I know the officer, the State Police, went over
17· ·Q.· ·All right.                                            17· · · · to talk to him.
18· ·A.· ·Nothing ever did happen.                              18· ·Q.· ·Did you ever talk with him about it?
19· ·Q.· ·Somebody else described an incident sometime          19· ·A.· ·No.
20· · · · between the shooting and now in which there was       20· ·Q.· ·In any of the conversations that you've had
21· · · · some truck that pulled up with a bunch of guys        21· · · · with anybody about what you observed that night,
22· · · · with baseball bats came running out at Carly's        22· · · · did you tell anybody anything different than
23· · · · house and Carly and some other male came out and      23· · · · what you have told us here today?
24· · · · chased them away.· Any knowledge of any of this?      24· ·A.· ·No.· I told you, no, no difference.
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·1· ·Q.· ·Are there any details that we haven't already         ·1· ·Q.· ·When you came out of your home, you initially
·2· · · · discussed about what you saw that night that you      ·2· · · · went to the back of your car -- the back of your
·3· · · · think are important?                                  ·3· · · · truck?
·4· ·A.· ·I know -- I never knew -- I didn't know after a       ·4· ·A.· ·I walked out and opened up my side of the door
·5· · · · month or so who the officer even was that even        ·5· · · · of my -- and grabbed my radio out.
·6· · · · did the shooting.· I didn't want to know,             ·6· ·Q.· ·When you say you opened your side of the door,
·7· · · · because I knew it was going to come down to it.       ·7· · · · are you talking about the driver's side door?
·8· · · · And I didn't know who it was or what his name         ·8· ·A.· ·Correct.
·9· · · · was until it finally come out in the newspapers       ·9· ·Q.· ·At some point did you go to the back of your
10· · · · and then I finally heard who it was, but nobody       10· · · · truck?
11· · · · ever did tell me who it was.                          11· ·A.· ·Yes.· As they were pulling in, I was at the
12· ·Q.· ·Have you ever seen any of the dash cam video of       12· · · · back of my truck.
13· · · · either the -- I hate to call it a pursuit, but        13· ·Q.· ·When the shots were fired, were you still at
14· · · · when they were following him around the               14· · · · the back of your truck?
15· · · · neighborhood or of the incident itself?               15· ·A.· ·Yes, I was.
16· ·A.· ·No, I never did.                                      16· ·Q.· ·And when you heard the first shot, did you do
17· ·Q.· ·Have you seen anything on Facebook or social          17· · · · anything in terms of protecting yourself or
18· · · · media or any internet site about this incident?       18· · · · covering yourself, or what?
19· ·A.· ·No.                                                   19· ·A.· ·No, because it happened so fast, and the way he
20· ·Q.· ·You've lived in Rock Falls all your life.· Have       20· · · · was shooting towards the car, it was going --
21· · · · you ever had any issues with the Rock Falls           21· · · · everything was going this -- everything was
22· · · · Police Department in general or any of its            22· · · · going this way --
23· · · · members or officers specifically?                     23· ·Q.· ·All right.
24· ·A.· ·No.                                                   24· ·A.· ·-- towards the back window.
                                                           49                                                              51

·1· · · · · · ·MR. KUJAWA:· Thanks, Mr. Russell.· Those         ·1· ·Q.· ·When you say "this way," you're saying the
·2· · · · are all my questions.                                 ·2· · · · shots were fired through the back window of the
·3· · · · · · ·MR. BROOKS:· Mr. Russell, I just have a          ·3· · · · white Cadillac?
·4· · · · few questions for you, a few follow-up                ·4· ·A.· ·Correct, yes.
·5· · · · questions.                                            ·5· ·Q.· ·In the direction of the driver?
·6· · · · · · ·THE WITNESS:· Sure.                              ·6· ·A.· ·Yes.
·7· · · · · · · · · · · · EXAMINATION                           ·7· ·Q.· ·And so you didn't feel like you needed to cover
·8· ·BY MR. BROOKS:                                             ·8· · · · yourself in some fashion, given where you
·9· ·Q.· ·I want to first go to Exhibit Number 2, and           ·9· · · · believed the shots were directed?
10· · · · where your home is located, that's 1302               10· ·A.· ·I was pretty much -- my truck was kind of right
11· · · · Franklin, right?                                      11· · · · here, so I was kind of more or less -- but no.
12· ·A.· ·Correct, yes.                                         12· ·Q.· ·Now, I want to ask you a little bit about that.
13· ·Q.· ·The way you have positioned your truck, from          13· · · · When you say your truck, you have actually made
14· · · · what I understand, the front of your car would        14· · · · a motion with your hands sort of raised at about
15· · · · have been facing -- the front of your truck,          15· · · · chest level.· So is that -- if you're standing
16· · · · this Ford -- this black Ford F-150, is that --        16· · · · in the back of your truck, does the back of your
17· ·A.· ·Correct.                                              17· · · · truck, where you had your elbows raised, would
18· ·Q.· ·-- it would have been facing the street of            18· · · · that essentially be the height of --
19· · · · Franklin?                                             19· ·A.· ·Yes.
20· ·A.· ·Yes.                                                  20· ·Q.· ·-- the cab if you were standing?
21· ·Q.· ·The back of your truck, you believe, was              21· ·A.· ·Yes.
22· · · · somewhere even to where that garage door is           22· ·Q.· ·So when the shots were fired, did you have your
23· · · · located?                                              23· · · · hands actually braced on the cab in some
24· ·A.· ·Yes.                                                  24· · · · fashion?
                                                           50                                                              52

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·1· ·A.· ·Yes.                                                  ·1· ·Q.· ·And I want to make sure I clearly understand
·2· ·Q.· ·How far would you say -- let me restate it.           ·2· · · · this.· That white Cadillac, you never heard the
·3· · · · · · ·If you're standing in the back of your           ·3· · · · engine rev up, did you?
·4· · · · truck and the shots are fired and, as you             ·4· ·A.· ·No.
·5· · · · described, you had your hands sort of raised so       ·5· ·Q.· ·You didn't see any aggressive acceleration in
·6· · · · they're situated on that cab, where would you be      ·6· · · · reverse by this white Cadillac, did you?
·7· · · · positioned in reference to the center of the          ·7· ·A.· ·No.
·8· · · · back of your truck?· You understand the               ·8· ·Q.· ·In fact, the best you saw was that the Cadillac
·9· · · · question?                                             ·9· · · · slowly moved backwards, right?
10· ·A.· ·I was right over the back wheel, right by the         10· ·A.· ·Yes.
11· · · · back wheel of the truck.                              11· ·Q.· ·As you described, it sort of crept backwards,
12· ·Q.· ·And that would be the back wheel on the               12· · · · correct?
13· · · · passenger's side?                                     13· ·A.· ·It wasn't a creep.· It moved back slowly.
14· ·A.· ·No.· Of the driver's side.                            14· ·Q.· ·All right.· You sort of used the word -- I
15· ·Q.· ·Oh, I'm sorry.                                        15· · · · thought you used the word crept.· If I --
16· ·A.· ·The driver's side, standing right at the              16· ·A.· ·No.· It moved back slowly.
17· · · · back -- standing right in front of the back           17· ·Q.· ·It moved back very slowly?
18· · · · wheel.· And I had my hands up on the -- looking.      18· ·A.· ·Slowly.
19· ·Q.· ·So if we look at Exhibit Number 2, where you          19· ·Q.· ·Now, when the Cadillac, as you described,
20· · · · see your garage door, is it fair to say where         20· · · · started to move backwards, you said you're not
21· · · · the driver's side rear of the truck is located        21· · · · sure exactly what brought it to a stop; is that
22· · · · when the shots were fired, you were positioned        22· · · · a fair assessment?
23· · · · closer to the driver's side rear of your truck        23· ·A.· ·Yes.
24· · · · as opposed to the passenger's side rear?              24· ·Q.· ·It could have been just the momentum of the
                                                           53                                                              55

·1· ·A.· ·The driver's side rear.                               ·1· · · · truck -- I'm sorry, of the Cadillac rolling back
·2· ·Q.· ·I'm trying to sort of picture your truck in           ·2· · · · eventually stopping on its own, correct?
·3· · · · terms of the cab.· Is it a covered cab?               ·3· ·A.· ·Yes.
·4· ·A.· ·No.                                                   ·4· ·Q.· ·By the way, when you first saw the driver in
·5· ·Q.· ·All right.· So for instance, I'm looking at           ·5· · · · that white Cadillac, did you ever see him on a
·6· · · · this red truck --                                     ·6· · · · cell phone?
·7· ·A.· ·Correct.                                              ·7· ·A.· ·No, I never did really -- I couldn't tell if he
·8· ·Q.· ·-- where you have an open bed.                        ·8· · · · was on a phone or what, but I could see his
·9· ·A.· ·Yes.                                                  ·9· · · · hands were going back and forth, like he was
10· ·Q.· ·Is the bed of your truck, is it opened?               10· · · · talking, like he was talking to somebody, but
11· ·A.· ·Yes.                                                  11· · · · his hands were going like he was talking.
12· ·Q.· ·Now, is that also an F --                             12· ·Q.· ·When you say you saw the driver -- let me
13· ·A.· ·This looks like a Dodge.                              13· · · · restate it.
14· ·Q.· ·Yeah, looks like a Dodge Ram, right?                  14· · · · · · ·So the car, the white Cadillac, that's
15· ·A.· ·Yeah.                                                 15· · · · parked in the driveway, you see the driver
16· ·Q.· ·All right.· Is that truck smaller -- the red          16· · · · making some movement with his hands?
17· · · · truck that we see in Exhibit Number 2, would          17· ·A.· ·Correct, yes.
18· · · · that be a smaller vehicle than yours?                 18· ·Q.· ·You -- from what you could see, you believed
19· ·A.· ·About the same size.                                  19· · · · that the driver could have been talking to
20· ·Q.· ·Did you remain towards the rear of your truck         20· · · · someone, correct?
21· · · · on the driver -- near the driver's side area          21· ·A.· ·Yes.· Didn't know if he was talking on the
22· · · · through the whole volley of shots that were           22· · · · phone or if he was giving gestures to the police
23· · · · fired?                                                23· · · · officers.
24· ·A.· ·Correct, yes.                                         24· ·Q.· ·Now, at some point you said Carly came out of
                                                           54                                                              56

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·1· · · · the house, correct?                                   ·1· ·A.· ·I don't -- I couldn't -- they were blocked from
·2· ·A.· ·Correct, yes.                                         ·2· · · · my view.· So I can't say if they did or not have
·3· ·Q.· ·Do you know if when Carly came out of the house       ·3· · · · their weapons out.
·4· · · · she had some type of phone, cell phone, in her        ·4· ·Q.· ·So from where you were located near your Ford
·5· · · · hand or some other phone?                             ·5· · · · truck, you could not fully see what the two
·6· ·A.· ·I don't know.· I couldn't say yes or no. I            ·6· · · · officers on the driver's side of the white
·7· · · · didn't see nothing.                                   ·7· · · · Cadillac were doing?
·8· ·Q.· ·You do recall the police telling Carly to get         ·8· ·A.· ·Not fully, because they were right in the back
·9· · · · back in the house, right?                             ·9· · · · rear -- rear panel of the driver's side.
10· ·A.· ·Yes.                                                  10· ·Q.· ·All right.· Were you able to see -- let me
11· ·Q.· ·Do you recall the police using profanity with         11· · · · restate it.
12· · · · her?                                                  12· · · · · · ·How much of the officers on the driver's
13· ·A.· ·I don't remember.· I just remember them               13· · · · side of the Cadillac were you able to see when
14· · · · yelling, Get back in the house.· I don't really       14· · · · the first shot was fired?
15· · · · remember if they did or not.                          15· ·A.· ·I could see them both.
16· ·Q.· ·When you heard those words, Get back in the           16· ·Q.· ·Just in terms of, could you see their full
17· · · · house, was that coming from more than one             17· · · · body?
18· · · · officer who was directing that to Carly?              18· ·A.· ·No.
19· ·A.· ·It was one -- I think it was only one person          19· ·Q.· ·Or what portions of their body could you see?
20· · · · that said it.                                         20· ·A.· ·More or less just from their -- kind of, like,
21· ·Q.· ·Which officer of the three do you believe             21· · · · from that chest down -- or from the chest up.
22· · · · actually made those statements?                       22· ·Q.· ·So from the chest to about head -- height of
23· ·A.· ·I don't know.· All I heard was the yelling.           23· · · · their head, you could at least see that --
24· ·Q.· ·Going back to some of the statements made by          24· ·A.· ·Yeah.
                                                           57                                                              59

·1· · · · officers directed at the driver of the white          ·1· ·Q.· ·-- as far as the two officers who were on the
·2· · · · Cadillac, directed to Nathaniel Edwards, first        ·2· · · · driver's side of the white Cadillac?
·3· · · · of all, do you know if more than one officer was      ·3· ·A.· ·Yes.
·4· · · · directing statements at Nathaniel Edwards?            ·4· ·Q.· ·The officer who you described fired the shots,
·5· ·A.· ·Only sounded like the one guy behind the car          ·5· · · · how much of him could you see when the first
·6· · · · was the only one that was.                            ·6· · · · shot was fired from where you were located by
·7· ·Q.· ·From what you understand, the only officer who        ·7· · · · your truck?
·8· · · · fired his weapon was the officer that was to the      ·8· ·A.· ·Pretty much just about -- about everything,
·9· · · · rear of the car?                                      ·9· · · · except for right -- maybe right from his knees
10· ·A.· ·Correct, yes.                                         10· · · · down I couldn't see or -- probably his thighs
11· ·Q.· ·I want to ask you about the two officers that         11· · · · down couldn't see, because he was right behind
12· · · · you have -- just so we're clear, Exhibit -- I'm       12· · · · the car.
13· · · · referring to Exhibit Number 2.· You have two Xs       13· ·Q.· ·So in other words, you could see the officer
14· · · · which, from what I understand, represent              14· · · · who you believed fired the shots, you could see
15· · · · officers who were on the driver's side of the         15· · · · at least from his head down slightly past his
16· · · · white Cadillac?                                       16· · · · abdominal area or belt line?
17· ·A.· ·Driver's side, yeah, rear panel.                      17· ·A.· ·Right below his belt line area there.
18· ·Q.· ·They were not behind the Cadillac though,             18· ·Q.· ·You couldn't see that portion of his body
19· · · · right?                                                19· · · · that's below his belt line though?
20· ·A.· ·No.                                                   20· ·A.· ·No, couldn't see it because it was -- the car
21· ·Q.· ·All right.· Now, the two officers that were on        21· · · · was blocking it because he was right against --
22· · · · the driver's side of the white Cadillac as it         22· · · · he was right up against the car.
23· · · · was stopped in the driveway, did you ever see         23· ·Q.· ·At what point was the officer who you say was
24· · · · them direct their weapons at Nathaniel Edwards?       24· · · · behind the white Cadillac -- let me restate
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·1· · · · that.                                                 ·1· · · · speed, right?
·2· · · · · · ·The officer that you said fired the shots        ·2· ·A.· ·Yes.
·3· · · · at the white Cadillac, you never physically saw       ·3· ·Q.· ·You have given statements where you said it was
·4· · · · him come in contact with the white car, did you?      ·4· · · · approximately 5 miles per hour, right?
·5· ·A.· ·The car did -- he never walked into it.· The          ·5· ·A.· ·Probably, yeah, around there, yes.
·6· · · · car, when it backed up, it was backing up into        ·6· ·Q.· ·Now, when you saw this white Cadillac moving at
·7· · · · him and he was walking back.· That's when he          ·7· · · · about 5 miles per hour, you didn't perceive that
·8· · · · fired.· He started backing up with the car when       ·8· · · · as a pursuit, did you?
·9· · · · it was backing up slowly.                             ·9· ·A.· ·I don't know what they were doing.
10· ·Q.· ·I want to go back to the point where you say          10· ·Q.· ·As best as you could tell, these officers were
11· · · · the white Cadillac was backing up slowly.             11· · · · following behind this white Cadillac, right?
12· ·A.· ·Correct.                                              12· ·A.· ·Yes.
13· ·Q.· ·Did you physically see the white Cadillac make        13· ·Q.· ·Do you know why they were following behind the
14· · · · contact with the officer who fired the shots?         14· · · · white Cadillac?
15· ·A.· ·Yes, he did.· He backed into his legs, and he         15· ·A.· ·No.
16· · · · kept backing up as he was -- he was standing          16· ·Q.· ·Have you ever learned why they were following
17· · · · behind the car to begin with, and when he put it      17· · · · behind the white Cadillac?
18· · · · in reverse, he bumped into his legs and he            18· ·A.· ·No.
19· · · · started backing up, and that's when he shot.          19· ·Q.· ·When you saw, I believe, as you described, a
20· ·Q.· ·Now, when you say the car sort of bumped into         20· · · · police car pull -- sort of block the roadway,
21· · · · the officer who was standing towards the rear,        21· · · · block the path of the white Cadillac before it
22· · · · how is it that you were able to see the car           22· · · · made it to the driveway, do you recall that?
23· · · · touch the officer?                                    23· · · · · · ·MR. KUJAWA:· I'm going to object.· It
24· ·A.· ·How was I able to see it?                             24· · · · misstate his testimony.
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·1· ·Q.· ·Yes.                                                  ·1· ·Q.· ·(By Mr. Brooks:)· Do you understand my
·2· ·A.· ·Because he was standing right behind the car.         ·2· · · · question?
·3· · · · When the car went back, it more or less -- he         ·3· ·A.· ·At the end of the road down --
·4· · · · kind of jolted like he -- and he started walking      ·4· ·Q.· ·Yes, I think that was Martin Street or
·5· · · · back with the car.· Because if he stood there,        ·5· · · · something.
·6· · · · he would have got run over.                           ·6· ·A.· ·Yes.· Yes.
·7· ·Q.· ·Let me go back to this point though.· The             ·7· ·Q.· ·I want to go back to that point.· When you saw
·8· · · · officer who you say was behind the car, you said      ·8· · · · a police officer block the roadway on Martin
·9· · · · he started walking backwards as the car started       ·9· · · · street, can you describe how the police car
10· · · · to move backwards?                                    10· · · · blocked the road?
11· ·A.· ·After he got bumped into, then he started going       11· ·A.· ·I didn't see it.
12· · · · back with it, and at the same time that's when        12· ·Q.· ·You didn't see that?
13· · · · he started shooting.                                  13· ·A.· ·No.· My wife --
14· ·Q.· ·You never heard the officer who fired the shots       14· ·Q.· ·I'm sorry.· You wife told you that, right?
15· · · · say something to the effect, The car hit me, did      15· ·A.· ·Correct.
16· · · · you?                                                  16· ·Q.· ·Were you inside when that happened?
17· ·A.· ·No.                                                   17· ·A.· ·I was just heading outside to go to my truck.
18· ·Q.· ·You never saw the officer who fired the shots         18· ·Q.· ·All right.· Did your wife describe the driver
19· · · · acknowledge to anyone that he had been struck by      19· · · · as maneuvering the car, that white Cadillac, in
20· · · · the car, did you?                                     20· · · · a fashion so that it would not strike the police
21· ·A.· ·No.                                                   21· · · · car?
22· ·Q.· ·When you first saw what we will describe as           22· ·A.· ·She just said it went down the -- they went
23· · · · police cars following the white Cadillac, you         23· · · · around it, down the ditch and back up into our
24· · · · said the Cadillac was moving at a rather slow         24· · · · street.· She says, Now -- she says, He just went
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·1· · · · around the cop car, they're coming back this          ·1· ·Q.· ·Based on what you're telling me, the other two
·2· · · · way.· And that's when I headed outside.               ·2· · · · officers went to the side of the vehicle, right?
·3· ·Q.· ·Fair to say what your wife described was, the         ·3· ·A.· ·Correct.
·4· · · · driver made a maneuver which avoided striking         ·4· ·Q.· ·Do you have any understanding why this officer
·5· · · · the police car?                                       ·5· · · · would go to the rear of the car?
·6· ·A.· ·That's what it sounded like, yes.                     ·6· ·A.· ·He probably didn't want him to leave.
·7· ·Q.· ·Counsel had asked you some questions about your       ·7· ·Q.· ·From what I understand, and there's been
·8· · · · statement.· I had a couple of questions about         ·8· · · · testimony that at some point the driveway was
·9· · · · it.· In that last paragraph it says, When Alvin       ·9· · · · actually blocked in some fashion such that if
10· · · · saw the officer behind the vehicle, he thought,       10· · · · the car backed -- tried to back out, it could
11· · · · This isn't going to be good for the driver.           11· · · · not completely get out of the driveway.· Did you
12· · · · · · ·What did you mean by that?· It's in the          12· · · · see that?
13· · · · last paragraph.· It's, like, the third sentence       13· ·A.· ·No.
14· · · · from the bottom.· Last paragraph though,              14· ·Q.· ·You didn't see that?
15· · · · Mr. Russell.· And it says, When Alvin saw the         15· ·A.· ·No.· The cars were both -- Rock Falls cars were
16· · · · officer behind the vehicle, he thought, This          16· · · · in the grass pointed this way.· There was no
17· · · · isn't going to be good for the driver.                17· · · · cars parked in the driveway to block the car.
18· · · · · · ·What did you mean by that?                       18· ·Q.· ·Going back to the point of the officers, who
19· ·A.· ·When he was standing behind the car.                  19· · · · had parked their vehicles somewhere along
20· ·Q.· ·Right.· I'm trying to get an understanding of         20· · · · Franklin Street, right?
21· · · · this statement that --                                21· ·A.· ·Correct.
22· ·A.· ·Correct.                                              22· ·Q.· ·You believe both of those cars to be operated
23· ·Q.· ·-- allegedly you made to the Illinois State           23· · · · by Rock Falls police officers?
24· · · · Police.                                               24· ·A.· ·Yes.
                                                           65                                                              67

·1· ·A.· ·Correct.                                              ·1· ·Q.· ·Prior to the shooting, did you see an officer
·2· ·Q.· ·Okay.· What did you mean when you -- when, as         ·2· · · · from any other law enforcement jurisdiction
·3· · · · the summary says, that you thought, That isn't        ·3· · · · other than Rock Falls, prior to the shooting?
·4· · · · going to be good for the driver?                      ·4· ·A.· ·No.
·5· ·A.· ·Because when he was standing behind the car,          ·5· ·Q.· ·Prior to the shooting, did you see a police car
·6· · · · yelling -- telling him to, Get out, get out, put      ·6· · · · that was stopped which belonged to an officer
·7· · · · your hands up, and he was standing behind the         ·7· · · · from the Sterling Police Department?
·8· · · · car, I was more or less thinking, I just hope he      ·8· ·A.· ·Not before the shots, no.
·9· · · · don't put it in -- hope he don't put it in            ·9· ·Q.· ·The first time you saw a police vehicle which
10· · · · reverse, because if he does, that's not going to      10· · · · would have been from a jurisdiction other than
11· · · · be good.· That's more or less what I told the         11· · · · Rock Falls was after the shooting?
12· · · · officer that night.                                   12· ·A.· ·Yes.
13· ·Q.· ·All right.· Were you also thinking this because       13· ·Q.· ·And what jurisdiction was that?
14· · · · the police had put themselves, let's say,             14· ·A.· ·It was Whiteside County.
15· · · · towards the rear of the car, that that would be       15· ·Q.· ·Did you know the officer from Whiteside County?
16· · · · bad for the driver potentially?                       16· ·A.· ·Rollie Elder.
17· ·A.· ·No, not for the -- well, not for the driver.          17· ·Q.· ·So you --
18· · · · For the officer, obviously, too.                      18· ·A.· ·Call him Rollie.
19· ·Q.· ·Okay.· Were you questioning the method of the         19· ·Q.· ·You know him in some capacity?
20· · · · officer who, after stopping the car, decided to       20· ·A.· ·Yes.
21· · · · go to the rear of the car or at least put             21· ·Q.· ·Fair to say that a lot of folks involved in the
22· · · · himself in that position behind the rear of the       22· · · · aftermath, interviews after the shooting and so
23· · · · car?                                                  23· · · · forth, you do have some knowledge of a number of
24· ·A.· ·He -- I mean, he was standing behind it.              24· · · · those officers, right?
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·1· ·A.· ·Yes.                                                  ·1· ·Q.· ·About 10 feet.· So the car -- the white
·2· ·Q.· ·Did you know any of the Illinois State Police         ·2· · · · Cadillac in the driveway, after it stopped,
·3· · · · personnel?                                            ·3· · · · rolled back slowly about 10 feet as the shots
·4· ·A.· ·I have seen them in and out of court.· I don't        ·4· · · · were being fired?
·5· · · · know them, but I see them walk in and out of          ·5· ·A.· ·No.· From the time he went back, he only went
·6· · · · court a lot.· It's just like the rest, all the        ·6· · · · back only about -- since he put it in reverse,
·7· · · · deputies and police officers, I see them walk in      ·7· · · · he probably only went about 10 feet at the most.
·8· · · · and out when I work the door.                         ·8· ·Q.· ·Right.· I just want to make sure I'm on the
·9· ·Q.· ·You told us you work as a bailiff?                    ·9· · · · same page with you.· So after the white Cadillac
10· ·A.· ·Correct, yes.                                         10· · · · was stopped in the driveway, at some point over
11· ·Q.· ·So essentially you're working in a courtroom,         11· · · · the course of the shooting, the car rolled back
12· · · · for the most part?                                    12· · · · slowly about 10 feet, correct?
13· ·A.· ·Courtroom, we work the front door too.· We take       13· ·A.· ·Yes.
14· · · · turns.· We work upstairs and downstairs.              14· ·Q.· ·And, again, you just don't know the mechanism
15· ·Q.· ·Would that include security as well, you know,        15· · · · of how it came to stop?
16· · · · when folks first come in through the courthouse?      16· ·A.· ·No, I don't.
17· ·A.· ·Yes.                                                  17· ·Q.· ·Did you ever hear any officers say, as the car
18· ·Q.· ·And in that process you get to know officers          18· · · · was slowly rolling backwards, Get out of the
19· · · · who come in and out of the courthouse on a            19· · · · way, get out of the way, anything of that
20· · · · regular basis?                                        20· · · · nature?
21· ·A.· ·Yeah.· I mean, you see them.                          21· ·A.· ·No.· I just -- the shots started off right
22· ·Q.· ·You get to know them by face?                         22· · · · away.
23· ·A.· ·You see them, yeah.· Yeah.                            23· ·Q.· ·All right.
24· ·Q.· ·The statements that the officers were directing       24· ·A.· ·And then there was just -- they were yelling,
                                                           69                                                              71

·1· · · · at Nathaniel Edwards as he sat in the car, were       ·1· · · · Shots fired, shots fired, on the radio.
·2· · · · they using profanity?                                 ·2· ·Q.· ·You actually went into your car -- your truck,
·3· ·A.· ·I didn't hear.                                        ·3· · · · I'm sorry, at some point to get your radio out,
·4· ·Q.· ·You didn't hear any profanity?                        ·4· · · · right?
·5· ·A.· ·I didn't hear no -- no.· I heard them yelling,        ·5· ·A.· ·Yes.
·6· · · · telling him to get out of the car.· Get your          ·6· ·Q.· ·And as you got your radio out, you were trying
·7· · · · hands up.· Get out of the car.· And they did          ·7· · · · to find out if you could get some information
·8· · · · say, Get out of the car or you will be shot.          ·8· · · · about what was going on leading to this
·9· · · · Get out of the car.· Put your hands up.               ·9· · · · incident, correct?
10· ·Q.· ·You never heard the F word directed at                10· ·A.· ·Yes.
11· · · · Mr. Edwards as he sat in the car?                     11· ·Q.· ·At some point after the shooting, you did hear
12· ·A.· ·I never did, no.· I never did hear it.                12· · · · some stuff over the radio, didn't you?
13· ·Q.· ·Have you learned at some point that the               13· ·A.· ·No.· It was -- I didn't really hear too much.
14· · · · officers used profanity --                            14· · · · It was quiet.
15· ·A.· ·No.                                                   15· ·Q.· ·Did you listen a little bit?
16· ·Q.· ·-- with Mr. Edwards as he sat in the car?             16· ·A.· ·They don't say too much over the radio after
17· ·A.· ·No.· Nobody told me -- I never talked to nobody       17· · · · something like that.
18· · · · about it.                                             18· ·Q.· ·All right.· So you didn't really hear anything
19· ·Q.· ·And just so I'm clear about this, you believed        19· · · · over the radio?
20· · · · that the car slowly rolled back, let's say, from      20· ·A.· ·No, huh-uh.
21· · · · its stopped position to until how far along the       21· ·Q.· ·By the way, you know what it sounds like when
22· · · · driveway?· Can you tell me?                           22· · · · an engine revs, right?
23· ·A.· ·Probably moved it about -- it probably rolled         23· ·A.· ·Yes.
24· · · · about 10 feet back.                                   24· ·Q.· ·And if the Cadillac engine just revved up, you
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·1· · · · would know that, wouldn't you?
·2· ·A.· ·Yes.
·3· ·Q.· ·And it never did, did it?
·4· ·A.· ·No.
·5· · · · · · ·MR. BROOKS:· I don't think I have any
·6· · · · other questions.
·7· · · · · · ·MR. KUJAWA:· Nothing else.· Thank you,
·8· · · · sir.
·9· · · · · · ·THE WITNESS:· Thank you.
10· · · · · · · · · · · (The deposition was concluded at
11· · · · · · · · · · · ·3:21 p.m.)
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·1·   · · · · · · · · ·C E R T I F I C A T E
·2
·3·   · · · · · ·I, Callie S. Bodmer, a Certified Shorthand
· ·   ·Reporter in and for the States of Illinois and Iowa,
·4·   ·do hereby certify that, pursuant to the agreement
· ·   ·herein contained, there came before me on the 18th
·5·   ·day of March, 2019, at 1:58 p.m., at the offices of
· ·   ·Ward, Murray, Pace & Johnson, 202 East Fifth Street,
·6·   ·Sterling, Illinois, the following-named person,
· ·   ·to-wit:· ALVIN RUSSELL, who was duly sworn to
·7·   ·testify to the truth and nothing but the truth of
· ·   ·his knowledge concerning the matters in controversy
·8·   ·in this cause; that he was thereupon examined on his
· ·   ·oath and his examination reduced to writing under my
·9·   ·supervision; that the deposition is a true record of
· ·   ·the testimony given by the witness, and that the
10·   ·reading and signing of the deposition by said
· ·   ·witness were expressly waived.
11
· ·   · · · · · ·I further certify that I am neither
12·   ·attorney or counsel for, nor related to or employed
· ·   ·by, any of the parties to the action in which this
13·   ·deposition is taken, and further, that I am not a
· ·   ·relative or employee of an attorney or counsel
14·   ·employed by the parties hereto or financially
· ·   ·interested in the action.
15
· ·   · · · · · ·In witness whereof I have hereunto set my
16·   ·hand this 4th day of April, 2019.
17
18
19
· ·   ·   ·   ·   ·   ·   ·Callie S. Bodmer
20·   ·   ·   ·   ·   ·   ·Certified Shorthand Reporter
· ·   ·   ·   ·   ·   ·   ·Registered Professional Reporter
21·   ·   ·   ·   ·   ·   ·IL License No. 084-004489
· ·   ·   ·   ·   ·   ·   ·IA License No. 1361
22·   ·   ·   ·   ·   ·   ·P.O. Box 381
· ·   ·   ·   ·   ·   ·   ·Dixon, Illinois, 61021
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24
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